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  Attorney for Plaintiffs

                        UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF HAWAII

   Venice PI, LLC et. al.,               )   Case No.: 1:18-cv-00192-LEK-KSC
                                         )   (Copyright)
                     Plaintiffs,         )
      vs.                                )   NOTICE OF WITHDRAWAL OF
                                         )   PLAINTIFFS’ SECOND MOTION
   DOE 1 et al.                          )   FOR RECONSIDERATION [DOC.
                                         )   #27] OF ORDER DENYING
             Defendants.                 )   PLAINTIFFS’ SECOND EX PARTE
                                         )   MOTION FOR LEAVE TO SERVE
                                         )   THIRD PARTY SUBPOENA PRIOR
                                         )   TO A RULE 26(F) CONFERENCE
                                         )   [DOC. #23]
                                         )

     NOTICE OF WITHDRAWAL OF PLAINTIFFS’ SECOND MOTION FOR
     RECONSIDERATION [DOC. #27] OF ORDER DENYING PLAINTIFFS’
     SECOND EX PARTE MOTION FOR LEAVE TO SERVE THIRD PARTY
       SUBPOENA PRIOR TO A RULE 26(F) CONFERENCE [DOC. #23]

        Plaintiffs Venice PI, LLC, Headhunter LLC, MON LLC, LHF Productions,

  Inc., Cook Productions, LLC., Glacier Films 1, LLC, Colossal Movie Productions,

  LLC, Clear Skies Nevada, LLC, Bodyguard Productions, Inc., I.T. Productions,

  LLC, Cobbler Nevada, LLC, Justice Everywhere Productions, Inc., (collectively
                                         1
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  “Plaintiffs”), by and through their attorney, Kerry S. Culpepper, hereby withdraw

  their Second Motion for Reconsideration [Doc. #27].

        The Plaintiffs had a Rule 26(f) conference with Defendant JAMES SOSA on

  8/22/2018 [Doc. #31].

        DATED: Kailua-Kona, Hawaii, August 22, 2018.


                                 CULPEPPER IP, LLLC

                                 /s/ Kerry S. Culpepper
                                 Kerry S. Culpepper

                                 Attorney for Plaintiffs




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